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F'.lr-.'o ar._&.__o.c.
UNITED STATES DISTRICT COURT

FOR THE _ ’
WESTERN DISTRICT 0F TENNESSEE 2005 AUG 8 AH H’ 32

 

UNITED STATES OF AMERICA

vs. Cr. No. 05-20281-D

`/\-/\_#\_/"~_/

RICKY HUGHES,
APPLICATION. ORDER and WRIT FOR I-IABEAS CORPUS AD PROSEOUENDUM
Katrina U. Earley, Assistant U.S. Attorney applies to the Court for a Writ to haveM
_I;Igg@, BKG #05104591. DOB 04-07-83. is now being detained in the Shelby County Jail appear
before the Honorable S. Thomas Anderson on 10th. A_n_ggs_t, 2005.. at 2:00 g.m. for initial appearance
and for such other appearances as this Court may direct.

Respectfully submitted this _8t_h day of Angus , 2005.

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As`§/istant U. S. Attorney
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Upon consideration of the foregoing Application,
DAVID G. JOLLEY, U.S. MARSHAl, wEsTERN DISTRICT 0F TENNESSEE, MEMPHIS, TN
SHERIFF/WARDEN,

YOU ARE IIEREBY COMMANDED to have Ricky Hughes

appear before the S. Thomas Anderson at the date and time aforementioned.

ENTERED this g day of Augustl 2005. (?@L‘\
_-rf'[-___`

UNITED STATI§S MAGISTRATE JUDGE

Tbis document entered on the docket Shee;pinéld$r_n£ltance
with me 35 and/or 32¢\:») FHdP w §_'

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CR-20281 Was distributed by faX, mail, cr direct printing on
August 8, 2005 to the parties listed.

 

 

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

chorable Bernice Dcnald
US DISTRICT COURT

